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                                Exhibit 1
U.S. Trademark Registrations and Corresponding Assignment Recordation Records
  Case: 1:23-cv-00673 Document #: 1-1 Filed: 02/03/23 Page 2 of 8 PageID #:20




                          Garberiel
Reg. No. 4,895,746               BINWEN ZOU (CHINA INDIVIDUAL)
                                 NO.18, TANLAO, WANCHE VILLAGE
Registered Feb. 2, 2016          LIANZHOU TOWN
                                 LUODING,GUANGDONG, CHINA 527228
Int. Cl.: 9
                                 FOR: AIR QUALITY MEASUREMENT APPARATUS, NAMELY, PARTICLE COUNTERS;
                                 AMPLIFIERS; BAGS ADAPTED FOR LAPTOPS; BALLASTS FOR HALOGEN LIGHTS;
TRADEMARK                        BATTERIES; BATTERY CHARGERS; CALCULATING MACHINES, DATA PROCESSING
                                 EQUIPMENT AND COMPUTERS; CAMERAS; CAR VIDEO RECORDERS; CASES FOR
PRINCIPAL REGISTER               MUSIC,AUDIOAND RELATED ELECTRONIC EQUIPMENT, NAMELY, CASES FORAUDIO
                                 TUNERS, AUDIO RECEIVERS, AMPLIFIERS, TAPE PLAYERS, COMPACT DISC PLAYERS,
                                 MP3 CONTROLLERS/PLAYERS, AUDIO MIXERS, AUDIO SPEAKERS IN THE NATURE
                                 OF MUSIC STUDIO MONITORS, MICROPHONES, AUDIO SPEAKERS, COMPACT DISCS,
                                 AUDIO TAPES, PORTABLE COMPUTERS, ANTENNAS, PHONOGRAPHIC RECORD
                                 PLAYERS, AUDIO RECORDING EQUIPMENT, AND THE CABLES ASSOCIATED WITH
                                 ALL OF THE FOREGOING EQUIPMENT; CELL PHONE STRAPS; CHARGERS FOR ELEC-
                                 TRIC BATTERIES; CHRONOGRAPHS FOR USE AS SPECIALIZED TIME RECORDING
                                 APPARATUSES; COMPUTER GAME SOFTWARE FOR PERSONAL COMPUTERS AND
                                 HOME VIDEO GAME CONSOLES; COMPUTER GAME SOFTWARE FOR USE ON MOBILE
                                 AND CELLULAR PHONES; COMPUTER HARDWARE AND COMPUTER PERIPHERALS;
                                 CONDUCTIVE FIBERS, NAMELY, HIGH POWER FIBERS FOR CONDUCTING LASER
                                 BEAMS IN THE MID INFRARED WAVELENGTH RANGE; CONVERTERS FOR ELECTRIC
                                 PLUGS; COVERS FOR ELECTRIC OUTLETS; DEVICES FOR HANDS-FREE USE OF MOBILE
                                 PHONES; EARPHONES; ELECTRIC CABLES, WIRES, CONDUCTORS AND CONNECTION
                                 FITTINGS THEREFOR; ELECTRIC CURRENT SWITCHES; ELECTRIC LIGHT SWITCHES;
                                 ELECTRIC POWER CONVERTERS; ELECTRICAL PICKUPS FOR USE WITH MUSICAL
                                 INSTRUMENTS; ELECTRONIC CONTROL GEARS (ECGS) FOR LED LAMPS AND LIGHT
                                 FIXTURES; EYEGLASSES; FITTED PLASTIC FILMS KNOWN AS SKINS FOR COVERING
                                 AND PROVIDING A SCRATCH PROOF BARRIER OR PROTECTION FOR ELECTRONIC
                                 DEVICES, NAMELY, MP3 PLAYERS, MOBILE TELEPHONES, SMART TELEPHONES, DI-
                                 GITAL CAMERAS, GLOBAL POSITIONING SYSTEMS AND PERSONAL DIGITAL ASSIST-
                                 ANTS; GPS NAVIGATION DEVICE; HANDS FREE DEVICES FOR MOBILE-PHONES;
                                 HEADPHONES; LAP-COUNTING DEVICES, NAMELY, COUNTERS FOR USE DURING
                                 SPORTING ACTIVITIES; LED AND HID LIGHT CONTROLS; LENGTH MEASURING
                                 GAUGES; LIGHT SYSTEMS COMPRISING LIGHT SENSORS AND SWITCHES; LOUDSPEAK-
 Director of the United States   ERS; MOUSEPADS; NEON SIGNS; OPTICAL COMMUNICATIONS SYSTEMS COMPRISED
 Patent and Trademark Office     OF OPTICAL AND ELECTRONIC HARDWARE AND COMPUTER SOFTWARE FOR THE
Case: 1:23-cv-00673 Document #: 1-1 Filed: 02/03/23 Page 3 of 8 PageID #:21




   Reg. No. 4 895 746 TRANSMISSION OF DATA BETWEEN TWO POINTS; PORTABLE MEDIA PLAYERS;
             '    '    PORTABLE TELEPHONES; PORTABLE VIDEO CAMERAS WITH BUILT-IN VIDEOCAS-
                       SETTE RECORDERS; PROTECTIVE COVERS AND CASES FOR CELL PHONES, LAPTOPS
                       AND PORTABLE MEDIA PLAYERS; RADIO TRANSMITTERS AND RECEIVERS FOR RE-
                       MOTE CONTROLS, RADIO CONTROLS; REMOTELY-CONTROLLED SUB-AQUATIC
                       VIDEO CAMERA CONTAINING A TV CAMERA, TRANSMITTER, RECEIVER AND MICRO-
                       PHONE TO RECORD, DETECT, MEASURE, SURVEY AND LOCATE OBJECTS UNDERWA-
                       TER; SET-TOP BOXES; SLIDE OR PHOTOGRAPH PROJECTION APPARATUS; SMART
                       CARD READERS; SOLAR BATTERIES; SOUND RECORDING APPARATUS; SPECTACLE
                       FRAMES; SPECTACLES; SUNGLASSES; TELEMATICS APPARATUS, NAMELY, WIRELESS
                       INTERNET DEVICES WHICH PROVIDE TELEMATIC SERVICES AND HAVE A CELLULAR
                       PHONE FUNCTION; TELESCOPES; VIDEO MONITORS; VIDEO SCREENS; WIRELESS
                       CELLULAR PHONE HEADSETS; WIRELESS COMMUNICATION DEVICES FOR TRANS-
                       MITTING IMAGES TAKEN BY A CAMERA; WIRELESS COMMUNICATION DEVICES FOR
                       VOICE, DATA OR IMAGE TRANSMISSION; WIRELESS INDOOR AND OUTDOOR
                       SPEAKERS; WIRELESS TRANSMITTERS AND RECEIVERS, IN CLASS 9 (U.S. CLS. 21, 23,
                       26, 36 AND 38).

                       FIRST USE 3-21-2014; IN COMMERCE 1-20-2015.

                       THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                       TICULAR FONT, STYLE, SIZE, OR COLOR.

                       SER. NO. 86-683,303, FILED 7-4-2015.

                       LINDA M. KING, EXAMINING ATTORNEY




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                             REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                    TRADEMARK REGISTRATION

       WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
              DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

   Requirements in the First Ten Years*
   What and When to File:

               First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
              5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
              accepted, the registration will continue in force for the remainder of the ten-year period, calculated
              from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
              federal court.

              Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
              Application for Renewal between the 9th and 10th years after the registration date.*
              See 15 U.S.C. §1059.

   Requirements in Successive Ten-Year Periods*
   What and When to File:

              You must file a Declaration ofU se (or Excusable Nonuse) and an Application for Renewal between
              every 9th and 10th-year period, calculated from the registration date.*

   Grace Period Filings*

   The above documents will be accepted as timely if filed within six months after the deadlines listed above
   with the payment of an additional fee.

   *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
   an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
   of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
   (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
   date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
   those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
   registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
   underlying international registration at the International Bureau of the World Intellectual Property Organization,
   under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
   from the date of the international registration. See 15 U.S. C. § 1141j. For more information and renewal
   forms for the international registration, see http://www.wipo.int/madrid/en/.

   NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
   USPTO website for further information. With the exception of renewal applications for registered
   extensions of protection, you can file the registration maintenance documents referenced above online
   at http ://www.uspto.gov.

   NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
   owners/holders who authorize e-mail communication and maintain a current e-mail address with the
   USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
   Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
   available at http://www.uspto.gov.




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Assignment abstract of title for application serial no.: 86683303, registration no.:
4895746

Mark/Registrant                   Serial                    Registration           International registration
GARBERIEL                         86683303                  4895746
Binwen Zou                        Jul 04, 2015              Feb 02, 2016


Assignments (1 of 1 total)

Assignment 1
Reel/frame                        Execution date            Date recorded          Properties        Pages
6104/0081                         Jul 05, 2017              Jul 13, 2017           2                 3

Conveyance
ASSIGNS THE ENTIRE INTEREST

Assignors                                        Entity type/citizenship
ZOU, BINWEN                                      INDIVIDUAL/CHINA

Correspondent                                    Domestic representative
ZHOU EMEI                                        ZHOU EMEI
616 CORPORATE WAY, SUITE 2-5451                  616 CORPORATE WAY, SUITE 2-5451
VALLEY COTTAGE, NY 10989                         VALLEY COTTAGE, NY 10989


Assignee                                         Entity type/citizenship
WANG, GELI                                       INDIVIDUAL/CHINA
ROOM 402, NO. 7, MINGLUN STREET, HUANGPU
DISTRICT,
GUANGZHOU
CHINA
  Case: 1:23-cv-00673 Document #: 1-1 Filed: 02/03/23 Page 6 of 8 PageID #:24




                          Garberiel
Reg. No. 4,895,747               BINWEN ZOU (CHINA INDIVIDUAL)
                                 NO.18,TANLAO,WANCHE VILLAGE
Registered Feb. 2, 2016          LIANZHOU TOWN
                                 LUODING,GUANGDONG, CHINA 527228
Int. Cl.: 11
                                 FOR: AIR CLEANING UNITS CONTAINING AN AIR FILTER, ULTRAVIOLET LIGHTS AND
                                 A PHOTOCATALYTIC FILTER; BICYCLE LIGHTS; DESK LAMPS; DIVING LIGHTS;
TRADEMARK                        ELECTRIC HOLIDAY LIGHTS; ELECTRIC LIGHT BULBS; ELECTRIC RICE COOKER;
                                 ELECTRIC SLOW COOKERS; LIGHT BULBS; LIGHT REFLECTORS; LIGHTS FOR USE IN
PRINCIPAL REGISTER               ILLUMINATINGSIGNSANDDISPLAYS;POCKETSEARCHLIGHTS;PORTABLEBATTERY-
                                 OPERATED LIGHTS THAT CAN BE PLACED ON SURFACES WHERE OTHER LIGHT
                                 SOURCES ARE UNAVAILABLE; PORTABLE UTILITY LIGHTS; READING LIGHTS; SAN-
                                 ITIZING APPARATUS FOR LINENS USING ULTRAVIOLET LIGHT, OZONE STERILIZATION
                                 AND LOW PRESSURE TECHNIQUES; VEHICLE TURN-SIGNAL LIGHT BULBS; TABLE,
                                 FLOOR, STREET LAMPS, IN CLASS 11 (U.S. CLS. 13, 21, 23, 31 AND 34).

                                 FIRST USE 3-11-2014; IN COMMERCE 1-20-2015.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 SER. NO. 86-683,307, FILED 7-4-2015.

                                 LINDA M. KING, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office
Case: 1:23-cv-00673 Document #: 1-1 Filed: 02/03/23 Page 7 of 8 PageID #:25




                             REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                    TRADEMARK REGISTRATION

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              federal court.

              Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
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              See 15 U.S.C. §1059.

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   What and When to File:

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   USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
   Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
   available at http://www.uspto.gov.




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Assignment abstract of title for application serial no.: 86683307, registration no.:
4895747

Mark/Registrant                   Serial                    Registration           International registration
GARBERIEL                         86683307                  4895747
Binwen Zou                        Jul 04, 2015              Feb 02, 2016


Assignments (1 of 1 total)

Assignment 1
Reel/frame                        Execution date            Date recorded          Properties        Pages
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Conveyance
ASSIGNS THE ENTIRE INTEREST

Assignors                                        Entity type/citizenship
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Correspondent                                    Domestic representative
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616 CORPORATE WAY, SUITE 2-5451                  616 CORPORATE WAY, SUITE 2-5451
VALLEY COTTAGE, NY 10989                         VALLEY COTTAGE, NY 10989


Assignee                                         Entity type/citizenship
WANG, GELI                                       INDIVIDUAL/CHINA
ROOM 402, NO. 7, MINGLUN STREET, HUANGPU
DISTRICT,
GUANGZHOU
CHINA
